Case 3:20-ap-03008            Doc 1   Filed 06/11/20 Entered 06/11/20 17:13:27             Desc Main
                                      Document     Page 1 of 11



                       IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

    In re                                          )       Chapter 11
                                                   )
    Blackjewel, L.L.C., et al.                     )       Case No. 19-30289
                                                   )
                    Debtors1,                      )       (Jointly Administered)
                                                   )
    BLACKJEWEL, L.L.C., BLACKJEWEL                 )
    HOLDINGS L.L.C., REVELATION                    )
    ENERGY HOLDINGS, LLC ,                         )
    REVELATION MANAGEMENT                          )
    CORPORATION, REVELATION                        )
    ENERGY, LLC, DOMINION COAL                     )
    CORPORATION, HAROLD KEENE                      )
    COAL CO. LLC , VANSANT COAL                    )
    CORPORATION, LONE MOUNTAIN                     )
    PROCESSING, LLC, POWELL                        )
    MOUNTAIN ENERGY, LLC, and                      )       Adv. Proceeding No. _________
    CUMBERLAND RIVER COAL LLC,                     )
                                                   )
                    Plaintiffs,                    )
                                                   )
    v.                                             )
                                                   )
    Clearwater Investment Holdings,                )
    LLC,                                           )
                                                   )
                                                   )
                    Defendant.                     )
                                                   )

                                           COMPLAINT

            The debtors and debtors-in-possession in the above-captioned chapter 11 cases

(collectively, the “Debtors”), as plaintiffs in the above-captioned adversary proceeding


1
 The Debtors in these Chapter 11 cases and the last four digits of each Debtor’s taxpayer identification
number are as follows: Blackjewel, L.L.C. (0823); Blackjewel Holdings L.L.C. (4745); Revelation
Energy Holdings, LLC (8795); Revelation Management Corporation (8908); Revelation Energy, LLC
(4605); Dominion Coal Corporation (2957); Harold Keene Coal Co. LLC (6749); Vansant Coal
Corporation (2785); Lone Mountain Processing, LLC (0457); Powell Mountain Energy, LLC (1024);
and Cumberland River Coal LLC (2213). The headquarters for each of the Debtors is located at P.O.
Box 1010, Scott Depot, West Virginia 25560.



010-9065-9659/3/AMERICAS
Case 3:20-ap-03008          Doc 1    Filed 06/11/20 Entered 06/11/20 17:13:27            Desc Main
                                     Document     Page 2 of 11



(“Plaintiffs”), for their adversary complaint (“Complaint”) against Clearwater Investment

Holdings, LLC (“Clearwater”), state and allege as follows.


                                         Nature of the Case

         1.       This is an action to avoid certain payments by Debtors as constructively fraudulent

transfers pursuant to sections 544, 547, 548, and 550 of the United States Bankruptcy Code, 11

U.S.C. § 101 et seq. (the “Bankruptcy Code”) and applicable state law, and to recharacterize certain

payments ostensibly made for repayment of debt as improper equity distributions while the

Debtors were insolvent.

                                       Jurisdiction and Venue

         2.       This adversary proceeding arises out of and is related to the above-captioned

bankruptcy cases pending before the Court. The Court has jurisdiction over this adversary

proceeding pursuant to 28 U.S.C. §§ 157 and 1334. This adversary proceeding is a core proceeding

pursuant to 28 U.S.C. §§ 157(b)(2).

                                                Parties

         3.       Blackjewel, L.L.C. (“Blackjewel”) and the other Plaintiffs are debtors and debtors-

in-possession in the above-captioned chapter 11 cases. On July 1, 2019 (the “Petition Date”), the

Debtors filed voluntary chapter 11 petitions in this Court.

         4.       Non-party Jeffrey A. Hoops, Sr. (“Hoops”) is the former President and Chief

Executive Officer of Blackjewel. Hoops was an officer and director of certain other of the Debtors

at various times.

         5.       Clearwater is, on information and belief, a limited liability company whose

members are Patricia A. Hoops and the Clearwater Trust (“CW Trust”). Patricia A. Hoops is

Hoops’ wife. The CW Trust purports to be a trust created by Hoops for the benefit of himself and




010-9065-9659/3/AMERICAS
Case 3:20-ap-03008          Doc 1   Filed 06/11/20 Entered 06/11/20 17:13:27          Desc Main
                                    Document     Page 3 of 11



members of his family. Hoops is a grantor and beneficiary of the CW Trust. Hoops’ family

members are the other trustees of the CW Trust.

                                Allegations Common to All Claims

         6.       The Debtors maintained bank accounts with United Bank.

         7.       Hoops and Clearwater also maintained various accounts at United Bank.

         8.       In the months preceding the Debtors bankruptcy filings, the Debtors paid tens of

millions of dollars to Clearwater. On information and belief, based on an analysis of the records

available to the Debtors, from January 1, 2019 until the Debtors’ bankruptcy filings in July of

2019, Clearwater received in excess of $34 million in payments from the Debtors.

         9.       Hoops directed the payments between the Debtors and Clearwater.

         10.      Hoops and Clearwater contend that the payments by the Debtors to Clearwater were

repayments made pursuant to a “revolving line[] of credit” provided by Clearwater to the Debtors.

No loan agreements or other instruments exist establishing any such line of credit by Clearwater

to Debtors.

         11.      Although amounts advanced by Clearwater to the Debtors were sometimes referred

to as a loan, including in proceedings in the Debtors’ bankruptcy cases shortly after the Petition

Date while Hoops remained CEO, the label applied to the advances and to the transfers by Debtors

to Clearwater is not determinative of their proper treatment. Based on the Debtors’ analysis, and

based on the substance of the transactions, the advances by Clearwater were and should be

considered equity contributions and the payments by Debtors to Clearwater were and should be

considered distributions on account of equity.

         12.      Clearwater did not charge interest to the Debtors for the amounts advanced under

the claimed line of credit. Debtors did not pay any interest to Clearwater for such advanced

amounts.



010-9065-9659/3/AMERICAS
Case 3:20-ap-03008          Doc 1   Filed 06/11/20 Entered 06/11/20 17:13:27            Desc Main
                                    Document     Page 4 of 11



         13.      There was no security for repayment of the amounts advanced by Clearwater under

the claimed lines of credit.

         14.      There was no fixed maturity date or schedule of repayments of the amounts

advanced by Clearwater to Debtors.

         15.      The Debtors were inadequately capitalized at both the time of advances by

Clearwater and the time of the payments by the Debtors to Clearwater. The Debtors had no

practical ability to obtain financing from outside lenders at both the time of advances by Clearwater

and the time of the transfers by the Debtors to Clearwater.

         16.      According to Hoops and Clearwater, advances under the claimed revolving line of

credit occurred because “no lenders were willing to provide any financing to Debtors.” No

independent third-party lender would make a loan to Debtors on terms consistent with the terms

alleged to govern the advances by Clearwater.

         17.      The Debtors had no clear source of repayment of amounts advanced by Clearwater.

There was no specific fund or source of funds for such repayment.

         18.      The Debtors were insolvent at the time of the transfers to Clearwater. At the time

of the transfers to Clearwater, the Debtors’ assets were unreasonably small for the business in

which they were engaged or would engage. At the time of the transfers to Clearwater, Hoops,

Clearwater, and the Debtors reasonably should have believed that the Debtors would incur debts

beyond Debtors’ ability to pay as they became due.

         19.      Hoops’ direction of the Debtors’ payments to Clearwater under the foregoing

circumstances was inequitable and improper. The payment of tens of millions of dollars to

Clearwater for distributions on account of equity are improper and harmed the Debtors and their

ability to satisfy obligations to creditors. The Debtors are entitled to recover from Clearwater the




010-9065-9659/3/AMERICAS
Case 3:20-ap-03008          Doc 1    Filed 06/11/20 Entered 06/11/20 17:13:27            Desc Main
                                     Document     Page 5 of 11



approximately $34 million of pre-petition payments by Debtors to Clearwater.

                                           COUNT ONE
                 (Recharacterization of Alleged Debt and Payments to Clearwater)

         20.      The Debtors incorporate each and every allegation contained in paragraphs 1

through 19 of this Complaint as if fully rewritten herein.

         21.      The advances by Clearwater to Debtors should properly be considered as, and in

substance were, equity contributions rather than loans or advances of credit. The payments by

Debtors to Clearwater should properly be considered as, and in substance were, improper

distributions on account of equity rather than repayment of debt.

         22.      The Court has the power to recharacterize the advances by Clearwater to the

Debtors under a claimed but undocumented revolving line of credit and to order that the advances

be treated as equity contributions, including but not limited to, pursuant to 11 U.S.C. § 105 and 11

U.S.C. § 726. Likewise, the Court has the power to recharacterize the payments by Debtors to

Clearwater and to order that they be treated as distributions on account of equity rather than

repayment of debt. Recharacterization is appropriate under the facts and circumstances applicable

to the advances by Clearwater and the repayments by Debtors.

         23.      Under all the facts and circumstances, the Court should declare and otherwise order

that amounts advanced by Clearwater to Debtors in substance were, and should be considered as,

equity contributions. Under all the facts and circumstances, the Court should declare and

otherwise order that amounts paid by Debtors to Clearwater in substance were, and should be

considered as, distributions on account of equity and not repayment of debt.

         24.      The payments by Debtors to Clearwater for equity distributions were improper and

are recoverable by the Debtors. The distributions were made at a time the Debtors were insolvent

and were not able to pay their debts as they became due in the usual course of business. The Court




010-9065-9659/3/AMERICAS
Case 3:20-ap-03008           Doc 1   Filed 06/11/20 Entered 06/11/20 17:13:27             Desc Main
                                     Document     Page 6 of 11



can and should order Clearwater to repay the amounts transferred by Debtors for repayment of the

claimed but undocumented revolving line of credit.

                                          COUNT TWO
               (To Avoid Constructively Fraudulent Transfers Under 11 U.S.C. § 548)

         25.      The Debtors incorporate each and every allegation contained in paragraphs 1

through 24 of this Complaint as if fully rewritten herein.

         26.      Each payment or transfer by the Debtors to Clearwater on account of the claimed

revolving line of credit (each a “Transfer”) was a transfer of an interest of the Debtors in property.

         27.      The Debtors did not receive reasonably equivalent value for any of the Transfers.

The Transfers were in substance, and should be considered, distributions to Clearwater on account

of equity and the Debtors did not receive value in exchange for such payments.

         28.      At the time of each Transfer, the Debtors were: (a) insolvent, or rendered insolvent

as the result of the Transfer; (b) engaged in business or a transaction, or were about to engage in

business or a transaction, for which the Debtors’ remaining property was an unreasonably small

capital; and/or (c) the Debtors intended to incur, or believed or reasonably should have believed

that they would incur, debts that would be beyond their ability to pay as such debts matured.

         29.        Each Transfer can and should be avoided as a constructively fraudulent transfer.

The Debtors are entitled to, and the Court should enter, judgment against Clearwater avoiding each

Transfer received by Clearwater pursuant to section 548 of the Bankruptcy Code.

         30.      Each Transfer can and should be avoided as to Clearwater and as to any subsequent

transferee.




010-9065-9659/3/AMERICAS
Case 3:20-ap-03008          Doc 1   Filed 06/11/20 Entered 06/11/20 17:13:27            Desc Main
                                    Document     Page 7 of 11



                                      COUNT THREE
           (To Avoid Constructively Fraudulent Transfers Under 11 U.S.C. § 544 and
                    the West Virginia Uniform Fraudulent Transfers Act)

         31.      The Debtors incorporate each and every allegation contained in paragraphs 1

through 30 of this Complaint as if fully rewritten herein.

         32.      Each Transfer also can and should be avoided pursuant to section 544 of the

Bankruptcy Code and applicable state law. Pursuant to section 544(b) of the Bankruptcy Code,

the Debtors (as debtors-in-possession) have the rights of existing unsecured creditors. Section

544(b) permits the Debtors to assert claims and causes of action that such a creditor could assert

under applicable state law.

         33.      Each of the Transfers can and should be avoided pursuant to West Virginia law.

Debtors did not receive reasonably equivalent value for any of the Transfers. The Transfers were

in substance, and should be considered, distributions on account of equity contributions by

Clearwater and the Debtors did not receive value in exchange for such distributions.

         34.      At the time of each Transfer, the Debtors were insolvent, or rendered insolvent as

the result of the Transfer within the meaning of West Virginia Code § 40-1A-5(a).

         35.      At the time of each Transfer, the Debtors were engaged or were about to engage in

a business or a transaction for which the remaining assets of the Debtor were unreasonably small

in relation to the business or transaction within the meaning of West Virginia Code § 40-1A-

4(a)(2)(i). At the time of each Transfer, the Debtors intended to incur, or believed or reasonably

should have believed that they would incur, debts beyond their ability to pay as they became due

within the meaning of West Virginia Code § 40-1A-4(a)(2)(ii).




010-9065-9659/3/AMERICAS
Case 3:20-ap-03008           Doc 1   Filed 06/11/20 Entered 06/11/20 17:13:27             Desc Main
                                     Document     Page 8 of 11



         36.        The Debtors are entitled to, and the Court should enter, judgment against

Clearwater avoiding each Transfer received by Clearwater pursuant to section 544 of the

Bankruptcy Code and applicable West Virginia law.

         37.      Each Transfer can and should be avoided as to Clearwater and as to any subsequent

transferee.

                                         COUNT FOUR
               (To Avoid Constructively Fraudulent Transfers Under 11 U.S.C. § 544
                                 and West Virginia Code § 40-1A-5(b)

         38.      The Debtors incorporate each and every allegation contained in paragraphs 1

through 37 of this Complaint as if fully rewritten herein.

         39.      In the alternative to Counts One through Three above, the Debtors assert that each

Transfer can and should be avoided pursuant to section 544 of the Bankruptcy Code and West

Virginia Code § 40-1A-5(b). In the alternative to their allegations that the Transfers can and should

be considered distributions on account of equity contributions, the Debtors allege that each of the

Transfers is avoidable as a transfer made to an insider for an antecedent debt, while the Debtors

were insolvent, and the insider had reasonable cause to believe that the Debtors were insolvent.

         40.      Clearwater is an insider for purposes of Debtors’ claim under West Virginia Code

§ 40-1A-5(b), including but not limited to, based on its association with Hoops and his family.

Clearwater knew the Debtors were insolvent at the time of the Transfers, including through the

knowledge of Hoops. Clearwater had reasonable cause to believe that the Debtor were insolvent

at the time of the Transfers.

         41.        In the alternative to Counts One through Three above, the Debtors are entitled to,

and the Court should enter, judgment against Clearwater avoiding each Transfer received by

Clearwater pursuant to section 544 of the Bankruptcy Code and West Virginia Code § 40-1A-5(b).




010-9065-9659/3/AMERICAS
Case 3:20-ap-03008              Doc 1   Filed 06/11/20 Entered 06/11/20 17:13:27          Desc Main
                                        Document     Page 9 of 11



         42.      Each Transfer can and should be avoided as to Clearwater and as to any subsequent

transferee.

                                             COUNT FIVE
                           (To Recover Avoided Transfers Under 11 U.S.C. § 550)

         43.      The Debtors incorporate each and every allegation contained in paragraphs 1

through 42 of this Complaint as if fully rewritten herein.

         44.      Clearwater was the initial transferee for the Transfers.

         45.      To the extent that the Transfers are avoided pursuant to sections 544 and 548 of the

Bankruptcy Code, as requested herein, the Debtors are entitled to recover, for the benefit of their

estates and creditors, the value of the avoided Transfers from Clearwater, pursuant to section 550

of the Bankruptcy Code.

         46.      Accordingly, the Debtors are entitled to judgment against Clearwater in an amount

not less than the amount of the avoided Transfers, plus pre- and post-judgment interest, attorneys’

fees and costs pursuant to section 550 of the Bankruptcy Code.

                                          COUNT SIX
               (For Declaratory Relief Regarding Preservation of Avoided Transfers
                           and Disallowance of Claims by Clearwater)

         47.      The Debtors incorporate each and every allegation contained in paragraphs 1

through 46 of this Complaint as if fully rewritten herein.

         48.      Pursuant to section 551 of the Bankruptcy Code, any transfer avoided under

sections 544 or 548, among other things, is automatically preserved for the benefit of the debtor’s

estate with respect to property of the estate. Pursuant to section 541(a)(4) of the Bankruptcy Code,

any property preserved for the benefit of the debtor’s estate under section 551 of the Bankruptcy

Code constitutes property of the debtor’s estate.




010-9065-9659/3/AMERICAS
Case 3:20-ap-03008          Doc 1    Filed 06/11/20 Entered 06/11/20 17:13:27              Desc Main
                                    Document      Page 10 of 11



         49.      Pursuant to section 502(d) of the Bankruptcy Code, any claim by an entity that is a

transferee of transfer avoidable under sections 544 or 548 is disallowed unless such entity or

transferee has paid the amount, or turned over any such property, for which such entity or

transferee is liable.

         50.      The Court can and should order and enter a declaratory judgment that the Transfers

are automatically preserved for the benefit of the Debtors’ estates and constitute property of the

Debtors’ estates, pursuant to sections 541(a)(4) and 551 of the Bankruptcy Code. The Court can

and should order and enter a declaratory judgment that all claims by Clearwater against the Debtors

are disallowed unless and until Clearwater has paid the amount of the Transfers to the Debtors.

                                       RELIEF REQUESTED

         WHEREFORE, the Debtors respectfully request that this Court enter judgment in their

favor as follows:

         (a)      Avoiding each of the Transfers under sections 544 and 548 of the Bankruptcy Code
                  and applicable West Virginia law, as requested herein;

         (b)      Ordering Clearwater to pay or otherwise turn over to Debtors the Transfers, or in
                  the alternative, grant a money judgment against Clearwater in an amount not less
                  than the total value of the Transfers, together with pre- and post-judgment interest
                  at the maximum legal rate under 28 U.S.C. § 1961 from the earliest date allowed
                  by law until the date of judgment or until paid or turned over in full, as applicable;

         (c)      Declaring that the Transfers are preserved for the benefit of the Debtors’ estates
                  and that all claims against the Debtors by Clearwater are disallowed unless and
                  until Clearwater has turned over the Transfers to Debtors or paid Debtors the value
                  of the Transfers;

         (d)      Awarding the Debtors’ attorneys’ fees and costs; and

         (e)      Granting any other and further relief that this Court deems just and equitable.




010-9065-9659/3/AMERICAS
Case 3:20-ap-03008         Doc 1    Filed 06/11/20 Entered 06/11/20 17:13:27       Desc Main
                                   Document      Page 11 of 11



Dated: June 11, 2020                        Respectfully submitted,


                                            SUPPLE LAW OFFICE, PLLC

                                            Joe M. Supple No. 8013
                                            801 Viand St.
                                            Point Pleasant, WV 25550
                                            304-675-6249
                                            joe.supple@supplelaw.net

                                            – and –

                                            SQUIRE PATTON BOGGS (US) LLP

                                            /s/ Stephen D. Lerner
                                            Stephen D. Lerner (admitted pro hac vice)
                                            Scott A. Kane (admitted pro hac vice)
                                            Nava Hazan (admitted pro hac vice)
                                            F. Maximilian Czernin (admitted pro hac vice)
                                            Travis A. McRoberts (admitted pro hac vice)
                                            201 E. Fourth Street, Suite 1900
                                            Cincinnati, Ohio 45202
                                            Telephone: 513.361.1200
                                            Facsimile: 513.361.1201
                                            stephen.lerner@squirepb.com
                                            scott.kane@squirepb.com
                                            nava.hazan@squirepb.com
                                            max.czernin@squirepb.com
                                            travis.mcroberts@squirepb.com

                                            Co-Counsel for the Debtors and
                                            Debtors-in-Possession




010-9065-9659/3/AMERICAS
